                   Case: 1:21-cv-00490 Document #: 1 Filed: 01/28/21 Page 1 of 6 PageID #:1

Pro Se 2 (Rev. 12/16) Complaint and Request for Injunction



                                        UNITED STATES DISTRICT COURT
                                                                         for the
                                                             Northern District of Illinois

                                                                  Eastern Division


                                                                           )       Case No.    1:21-cv-00490
                                                                           )                   (to be filled in by the Clerk’s Office)
                  Richard Joseph Gatz, et. al.
                                                                           )
                              Plaintiff(s)                                 )
(Write the full name of each plaintiff who is filing this complaint.
If the names of all the plaintiffs cannot fit in the space above,          )
please write “see attached” in the space and attach an additional          )
page with the full list of names.)                                         )
                                  -v-                                      )
                                                                           )
                                                                           )
                                                                           )
                  Robinhood Financial, LLC                                 )
                              Defendant(s)                                 )
(Write the full name of each defendant who is being sued. If the           )
names of all the defendants cannot fit in the space above, please          )
write “see attached” in the space and attach an additional page
with the full list of names.)



                                    COMPLAINT AND REQUEST FOR INJUNCTION

I.        The Parties to This Complaint
          A.         The Plaintiff(s)

                     Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                     needed.
                                Name                                   Richard Joseph Gatz
                                Street Address                         1104 N. Mill St
                                City and County                        Naperville, DuPage
                                State and Zip Code                     Illinois, 60563
                                Telephone Number                       6304453187
                                E-mail Address                         richardgatz@gmail.com


          B.         The Defendant(s)

                     Provide the information below for each defendant named in the complaint, whether the defendant is an
                     individual, a government agency, an organization, or a corporation. For an individual defendant,
                     include the person's job or title (if known). Attach additional pages if needed.

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                     Defendant No. 1
                                Name                         Robinhood Financial, LLC
                                Job or Title (if known)
                                Street Address               85 Willow Rd
                                City and County              Menlo Park, San Mateo County
                                State and Zip Code           California, 94025
                                Telephone Number             6509402700
                                E-mail Address (if known)


                     Defendant No. 2
                                Name
                                Job or Title (if known)
                                Street Address
                                City and County
                                State and Zip Code
                                Telephone Number
                                E-mail Address (if known)


                     Defendant No. 3
                                Name
                                Job or Title (if known)
                                Street Address
                                City and County
                                State and Zip Code
                                Telephone Number
                                E-mail Address (if known)


                     Defendant No. 4
                                Name
                                Job or Title (if known)
                                Street Address
                                City and County
                                State and Zip Code
                                Telephone Number
                                E-mail Address (if known)




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II.       Basis for Jurisdiction

          Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
          heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
          parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
          is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
          another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. In a
          diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

          What is the basis for federal court jurisdiction? (check all that apply)
                       Federal question                                Diversity of citizenship


          Fill out the paragraphs in this section that apply to this case.

          A.         If the Basis for Jurisdiction Is a Federal Question

                     List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
                     are at issue in this case.
                       17 CFR § 240.10b-5



          B.         If the Basis for Jurisdiction Is Diversity of Citizenship

                     1.         The Plaintiff(s)

                                a.         If the plaintiff is an individual
                                           The plaintiff, (name)                                                    , is a citizen of the
                                           State of (name)                                                  .


                                b.         If the plaintiff is a corporation
                                           The plaintiff, (name)                                                    , is incorporated
                                           under the laws of the State of (name)                                                            ,
                                           and has its principal place of business in the State of (name)
                                                                                             .

                                (If more than one plaintiff is named in the complaint, attach an additional page providing the
                                same information for each additional plaintiff.)

                     2.         The Defendant(s)

                                a.         If the defendant is an individual
                                           The defendant, (name)                                                    , is a citizen of
                                           the State of (name)                                                  . Or is a citizen of
                                           (foreign nation)                                       .



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                                b.         If the defendant is a corporation
                                           The defendant, (name)                                        , is incorporated under
                                           the laws of the State of (name)                                        , and has its
                                           principal place of business in the State of (name)                                     .
                                           Or is incorporated under the laws of (foreign nation)                                  ,
                                           and has its principal place of business in (name)                                      .

                                (If more than one defendant is named in the complaint, attach an additional page providing the
                                same information for each additional defendant.)

                     3.         The Amount in Controversy

                                The amount in controversy−the amount the plaintiff claims the defendant owes or the amount at
                                stake−is more than $75,000, not counting interest and costs of court, because (explain):




III.      Statement of Claim

          Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
          facts showing that each plaintiff is entitled to the injunction or other relief sought. State how each defendant
          was involved and what each defendant did that caused the plaintiff harm or violated the plaintiff's rights,
          including the dates and places of that involvement or conduct. If more than one claim is asserted, number each
          claim and write a short and plain statement of each claim in a separate paragraph. Attach additional pages if
          needed.

          A.         Where did the events giving rise to your claim(s) occur?
                       Robinhood Financial, LLC (hereinafter referred to as the "Defendant") has a securities and options
                       tradings platform and mobile application. The events occurred nationally.




          B.         What date and approximate time did the events giving rise to your claim(s) occur?
                       January 27th, 2021, January 28, 2021, and the events are ongoing.




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          C.         What are the facts underlying your claim(s)? (For example: What happened to you? Who did what?
                     Was anyone else involved? Who else saw what happened?)

                       The Defendant halted trading on its securities exchange platform of Blackberry (BB), Nokia (NOK),
                       and AMC Theatres (AMC) for retail investors. On information and belief, they have continued to allow
                       trading for institutional investors. Richard Joseph Gatz (hereinafter referred to as the "Plaintiff") owned
                       two (2) options contracts for BB at the time of the trading halt. The value of these options decreased by
                       almost two-hundred percent and the BB stock price fell over ten dollars ($10) from the prior days close.
                       On information and belief, the halting of trading of these stocks was to protect institutional investment
                       at the detriment of retail customers. Furthermore, this appears to be in lock-step with other securities
                       trading platforms, such as Ally Financial, TD Ameritrade and potentially others.



IV.       Irreparable Injury

          Explain why monetary damages at a later time would not adequately compensate you for the injuries you
          sustained, are sustaining, or will sustain as a result of the events described above, or why such compensation
          could not be measured.
          The halt of retail trading for these stocks has caused irreparable harm and will continue to do so. Plaintiff is
          unable to get fair market value for his options contracts and the manipulation has caused the price of the BB to
          fall. If the stocks are not allowed to be trading it is likely that Plaintiff will take a financial loss solely due to the
          Defendant's behavior and manipulation of their trading platform. The Defendant has on information and belief
          continued to allow investment in these securities by instititutional investors who have benefited from the
          stoppage of retail investment.




V.        Relief

          State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
          arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
          the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
          punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
          punitive money damages.
          Plaintiff respectfully requests that this honorable court require Robinhood to continue to allow trading of these
          securities for retail investors so that they can trade at their actual market value based upon retail and institutional
          investment. Plaintiffs' monetary damages continue to accrue and likely will be substantial.




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VI.       Certification and Closing

          Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
          and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
          unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
          nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
          evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
          opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
          requirements of Rule 11.

          A.         For Parties Without an Attorney

                     I agree to provide the Clerk’s Office with any changes to my address where case−related papers may be
                     served. I understand that my failure to keep a current address on file with the Clerk’s Office may result
                     in the dismissal of my case.

                     Date of signing:                        01/28/2021


                     Signature of Plaintiff                   /s/ Richard Joseph Gatz
                     Printed Name of Plaintiff                Richard Joseph Gatz

          B.         For Attorneys

                     Date of signing:                        01/28/2021


                     Signature of Attorney                    /s/ Richard Joseph Gatz
                     Printed Name of Attorney                 Richard Joseph Gatz
                     Bar Number                               6291165
                     Name of Law Firm                         Richard Gatz, Attorney at Law
                     Street Address                           1104 N. Mill St. Unit 212
                     State and Zip Code                       Illinois, 60563
                     Telephone Number                         6304453187
                     E-mail Address                           richardgatz@gmail.com




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